Case 2:85-cv-04544-DMG-AGR Document 469 Filed 07/27/18 Page 1 of 1 Page ID #:23389



                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES - GENERAL

   Case No.    CV 85-4544-DMG (AGRx)                                     Date     July 27, 2018

   Title Jenny L. Flores v. Jefferson B. Sessions, III, et al.


   Present: The Honorable      DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                 Kane Tien                                               Anne Kielwasser
                Deputy Clerk                                              Court Reporter

      Attorneys Present for Plaintiff(s)                         Attorneys Present for Defendant(s)
                Peter Schey                                           Sarah B. Fabian, USDOJ
             Carlos R. Holguin
              Holly S. Cooper
               Leecia Welch

   Proceedings: STATUS CONFERENCE AND PLAINTIFFS' MOTION TO ENFORCE
                SETTLEMENT [409]

          The cause is called and counsel state their appearance. The Court invites counsel to
   respond to the tentative ruling. Following oral argument, the Court advises counsel that the
   motion to enforce shall be taken under submission and a written order will issue.

          The status conference was held. The Court grants leave for Defendants to augment the
   record with their response to Plaintiff’s declarations. Any response shall be filed by August 10,
   2018. After the Special Master/Independent Monitor is appointed, the Court will instruct the
   Special Master/Independent Monitor to review Defendants’ response, if any, to Plaintiffs’
   declarations.

           By August 10, 2018, the parties shall meet and confer to file a joint status report on
   whether the parties can stipulate to a candidate for the position of Special Master/Independent
   Monitor and may submit proposed language defining the parameters of such appointment. If no
   agreement can be reached, each side may nominate two candidates for the position for the Court
   to consider. If the Court does not find any of the nominees to be an appropriate fit, the Court
   shall select the Special Master/Independent Monitor.

           The Juvenile Coordinators shall continue to perform their duties as outlined in Section X
   of the Flores Agreement. They shall file an annual compliance report by July 1 of each year
   until the Court determines otherwise.



                                                                                                  1:10

   CV-90                              CIVIL MINUTES - GENERAL                   Initials of Deputy Clerk KT
